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Page 1 of 35

 

Dist_rict of Nevada

United States Bankruptcy C_ourt

 

Voluntary Petition

 

' vNainc of Debtor (if individual, enter Last, First, Middle):

Marinel|i, Mark S

Naine of Joint Debtor (Spouse) (I_ast First, Middle):
oa11`y_, 11111y K ' '

 

_ - All Other Naines used by the Debt01 111 the last 8 years
- (inclu_de manied, inaiden, and trade names.):

(include man ied maiden,- and trade naines):

A_ll Othei Naines used by the Joint Debtor in the last 8 yeais

 

Last four digits of Soc. Sec. or lndividual- -Taxpayei I..D (l'l`IN) No. /Coinplete
EIN (if more than one, state all): 387 3

n Last four digits of Soc. See 01 Indi_vidu`al- -Taxpayer I D (ITIN) No /Comp_lete

vElN (if more than one, state all): 2771

 

Street Address of Debtor (N 0 & Street, City, State & Zip Code):

Street Address of Joint Debtor (No. & Sn eet, City, State & Zip Code):
7804 Canoe Lane ~
Las Vegas, NV

 

7804 Canoe Lane ,
1 ZIPCODE 89145 '

Las Vegae, NV
` County of Residence or of the Principal Place of Business:
C|ark

-Clark

.County of Residence or of the Principal Place of Busiiiess;

 

Mailiiig Address of Debtor (if different irom>street address) . `- _

 

1 ziPco'DE` ' l `

Mailing Address of J 01nt Debtor (if different from street address):

l ZTPCODE `

 

Location of Principal Assets of Business Debtoi' (if different from street address above):

1 ziPcoDE ` '

 

 

 

 

 

 

 

MFull Filing Fee attached

` |:| Filin,gr F.ee to be paid 111 installments (Applicabl_e to individuals only) Must n

attach signed application for the court’ s consideration certifying that the debtor
is unable to pay fee except in installments Rule 1006(b). See Oft`icial Form
3A.

[:] Filing Fee waiver requested (Applicable to chapter 7 individuals only).- Mnst
attach signed application for the court’s conside1ation See Ofticial Fonn 3B.

Type of Debtor _Natnre of aniness - Cliapt_er'of Bankruptcy Code Under Wli_ich`
(Form of Orga_nization) ` (Check one box.) _ the Petition is.Filed (Clieck one box.)
(Che°k one box ) |:l Health Care Business M Chapter_7 \:I Chapter 15 Petition for
Mlndividual (includes Joint Debtors) |:1 Single Asset Real Estate as defined 111 11 |:| Chapter 9 ` Recognition of a Foreign
See Exhibz'tD on page 2 of this form. U. S. C. § 101(51B) l:\ Chapter ll Main Proceeding
|:\ Corporation (includes LLC and LLP) |:] Railroad |:| Chapter 12 I:] Chapter 15 Petition for
l:l Partnership \:\ Stockbroker |:I Chapter 13 Recognition of a Foreign
|:] Other (lf debtor is not one of the above entities, [:| Commodity Broker Nonma.in Proceeding
check this box and state type of entity below. ) |:| Clearing Bank Nature ofDebts
|:' Other (Check one box.)
M Deth are primarily consumer }:l Debts are primarily
Tax-Exempt Entity debts, defined in ll U.S.C. business debts.
(Check box, if applicable.) § lOl(S) as “incurred by an
[:| Debtor is a tax-exempt organization under individual primarily for a
Title 26 of the United States Code (the personal, family, or house-
Internal Revenue Code). hold purpose.”
Filing Fee (Check one box) Chapter 11 Debtors
Check one box:

 

]:l Debtor is a small business debtor as deHned 111 ll U. S. C § 101(51D).
|:I Debt01 is not a small business debtor a_s defined 111 ll U. S. C § 101(51D).

Check if:

\:l Debtor’ s aggregate noncontingent liquidated debts owed to non- -insiders or
afhliates are less than 52,190,000. -

'Cl1eck all applicable boxes:

I:| A plan is being filed with this petition - - -

|:\ Acceptances of the plan were solicited prepetition from one or more classes of
creditors, iri accordance With ll U. S. C. § 1126(b).

 

 

 

 

 

' 4Statistical/Administrative lnformation ' - THIS SPACE lS FOR
l:l Debt01 estimates that funds Will be available for distribution to unsecured creditors.. " ~ COURT USE ONLY
MDebtor estimates that, after any exempt property is excluded and administrative expenses paid, theie will be no funds available for ~

disuibutioii to unsecured creditors ,
Estiinated Numbei' of Creditors , 1 . ' .

1 m 13 m 1:1, 1:1 _ m 1:1v

1-49 50-99 100-199 200-999 1,000- 5,001- 10,001- ' 25,001- x 50,001~ Over ~ l
- 5,000 10,000 25,000 50,000 100,000 1'00,000
Estiinated Assets ` ' v ' 1 _ . .
|:l E |:] l:| 1:1 |:| l___l |:l l:l . _
50 to 550, 001 to 5100, 001 to 5500, 001 to 51, 000, 001 to 510, 000, 001 550, 000, 001 to 5100, 000, 001 5500, 000, 001 More than
550,000 5100, 000 5500, 000 51 million 510 million to 550 million 5100 million to 5500 million to 51 billion 51 billion
Estiinated liabilities ' `
l:| lj l:l |:| L__| 13 [1 l:l _ 1:1
50 to 550, 001 to 5100, 001 to 5500, 001 to 51, 000, 001 to 510, 000, 001 550, 000, 001 to 5100,000,001 5500,000,001 More than
550,000 5100, 000 5500, 000 51 million 510 million to 550 million 5100 million to 5500 million to 51 billion 51 billion

 

 

 

zii>coDE 39145 ' .`

 

 

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Voluntary Petition Nam_e of pebtor(s); _
~ (Thz'spage must be completed and ]€led m euel'j) case) Mar'ne"l’ Mark S 8‘ Da"y’ L'"y K
v _ Prior Bankruptcy C21se Filed Within Last 8 Years (If more than two, attach additional sheet)
Location '_ _ . .¢ .. ._ s . , .. 1 ' _ . .4 Casel\lumber: v l ._ . DateFiled:
Where Filed: Buffa|o, NY ' ' -' ' ' t 4 88-12125y '- 1988
_Location j l - l ` ‘ k d Case Nuinber: -~ `4 ' Date Filed:
Where Filed: San Diego, CA ' ' Unknown ' 19805 `
Pending Bankruptcy Case Filed by any Spouse, P_ar_tner or Afi“iliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor: 1 4 Case Number: - 4 . Date Filed:
None - _ ' _ - _ - y gm . '. .' _ n
District: - _ _ ~ , ;_ ‘. l - '- Relationship: .' Judge:
' . , ExhibitA ' ~ " ‘ ’ V. Exhib`itB
(To be completed if debtor is required to file periodic reports (e g. forms _ ~ ' (To be completed if debt01 1s an individual
lOK and lOQ) with the Securities and Exchange Commission pursuant to . q whose debts are primarily consumer debts )
SeCtiOn 13 Or 15(d) Of the Sec‘mties Exchange Aet °f 1934 and 15 y I,'the attorney for the petitioner named in the foregoing petition, declare
requesting rehef under chapter 11 ) b that I have informed the petitioner`that [he or she] may proceed under
'» _ `, chapter 7,` ll, 12, or 13 of title ll, United States Code, and have
i:| Exhiblt A 15 attached and made a Part of thls Petition explained the relief available under each such chapter I further certify
that _I delivered to the debtor the notice required by § 342(b) of the
Bankruptcy Code.
~`X /s/ `H.- stan Johnso'n, Esq. - ' ' ‘ - “ 1/22/09
Signature ofAttomey for Debtor(s) . Date '
Exhibit C

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Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
or safety?

§ Yes, and Exhibit C is attached and made a part of this petition.
No

 

Exhibit D
(To be completed by every individual debtor. It` a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
M Exhibit D completed and signed by the debtor is attached and made a part of this petition.

If this is a joint petition:
121 Exhibit D also completed and signed by the joint debtor ls attached a made a part of this petition

 

lnformation Regard'mg the Debtor- Venue
b ' (Ch_ecl< any applicable box. )
|E’ Debtor has been domiciled or has had aresidence, principal place of bus1ness 01 principal assets in this District for 180 days immediately "
preceding the date of this petition or for a longer part of such lSO days than 111 any other District

|:] There 1s a bankruptcy case concerning debtor’ s afiiliate`, general paitner, or partnership pending 1n this District.

[:| Debtor is a debtor 111 a foreign proceeding and has its principal place of bus1ness or principal assets in the United States 111 this District,
or has no principal place of busmess or assets in the United States but is a defendant 1n an action or proceeding [in a federal or state court]
in this District or the interests of the parties will be served 1n regard to the relief sought in this District ' -

 

Certiflcation by a Debtor Who Resides as a Tenant of Residential Prope_rty
' (Check all applicable boxes. )
|:] Landlord has a judgment against the debtor for possession of debtor’ s residence (lf box checked, complete the following)

 

(Naine of landlord or lessor that obtained judgment)

 

(Address of landlord or lessor)

Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
the entire monetary default that gave rise to the judgment for possession after the judgment for possession Was entered, and

|:| Debtor has included m this petition the deposit With the court of any rent that would become due during the 30- day period after the
iiling of the petition

|:I Debtor certiiies that he/ she has served the Landlord With this certification (l l U.S.C. § 362(1)).

 

 

 

 

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` X

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._.¢\.

Voluntary Petition

Name of Debtor(s):
Nlarinel|i, N_lar_k S &. Da|ly_, Lil|y K_

 

l _(T his page.must be completed andfiled in every case) ~ ' '

Signatures

 

Signature(s) of Debtor_(s`) (Individual/_.Ioint)

I declare under penalty of perjury that the information provided 1r1 this
petition is true and correct.

[_pretitioner is an individual whose debts are primarily consumer debts
and has chosen to file under Chapter 7] l am aware that I may proceed

t under chapter 7, ll, 12 or 13 of title ll, United State Code understandl

the relief available under each such chapter, and choose to proceed under ‘
chapter 7.

[lf no attorney represents me and no bankruptcy petition preparer signs
the petition] Ihave obtained and read the notice required by l l U. S. C §
342(b)

l request relief m accordance With the chapter of title ll, United States
Code speci€ed in this petition.

X /s/ Mark s Marineili `
Sig'nature_ of Debtor

X /s/ Lilly_K` Da/ly ~
Signature ofJoint Debtor
i702) 341-6359

Telephone Number (Ifnot represented by attorney)

Januarv 22, 2009

Date

Lil|y K Da||y '

' X

_- Mark S Marine|li '_ ,

Signature of a Foreign Represexitative

I. declare under penalty of perjury that the information provided in this
petition is true and correct, thatI am the foreign representative of a debtor
in a foreign proceeding, and that l am authorized to file this petition

(Check only one box. )
[___| l request relief m accordance With chapter l5 of title ll United
States Code. Certiiied copies of the documents required by l l U. S. C.
, § 1515 are attached._ -
|:| Pursuant to ll U. S. C § 1511, lrequest relief in accordance with the

chapter of title ll specified m this petition A certified copy `of the
order granting recognition of the foreign mainproceeding is attached

 

Signature o_fForeign Representative

 

` Printed Narrre of Foreign Representative _

 

Date

 

Signature of- Attorney*

X /s/ H. Stan Johnson, Esq.
Siguature ofAttorney for Debtor(s)

H. Stan Johnson, Esq. 0265

Printed Name of Attomey for Debtor(s)

Stan 'Johnson
Firm Name

3695 West Flaminqo Road
Address

Las Veqas, NV 89103

 

n 1 Telephone Number ‘

` ' January 22, 2009
_ Date '
*In a case in wh10h § 707(b)(4)(D) applies, this signature also constitutes a
certiication that the attorney has no knowledge after an inquiiy that the
' information m the schedules is incorrect '

 

Signature of Debtor (Corporation/Partnership) .
I declare under penalty of perjury that the information provided in this

_ ' petition is true and correct, and that l have been authorized to file this
' petition on behalf of the debtor.

The debtor requests relief m accordance with the chapter of title ll,
United States Code, specified in this petition

 

Signature of Authorized Individual

 

Printed Name ofAuthorized Individual

 

Title of Authorized Individual

 

Date

_X

: Names and Social Security numbers of all other individuals who

 

 

Signature of Non-Attorney Petition Preparer ,

I declare under penalty of perjury that: l) l am a bankruptcy petition
preparer as defined in ll U.S.C. § llO; 2) I prepared this document for
compensation and have provided the debtor with a copy of this document
and the notices and information required under ll U.S.C. §§ llO(b),
llO(h) and 342(b); 3) if rules or guidelines have been promulgated
pursuant toll U.S.C. § llO(h) setting a maximum fee for services
chargeable by bankruptcy petition preparers, l have given the debtor
notice of the maximum amount before preparing any document for filing
for a debtor or accepting any fee from the debtor, as required in that
section. Official Form 19 is attached '

 

Printed Name and title, if any, of Bankruptcy Petition Preparer

 

Social Security Number (If the bankruptcy petition preparer is not an individual, state the
Social Security number of the oi“}icer, principal, responsible person or partner of the
bankruptcy petition preparer ) (Required _by ll U. S. C. .§ ll_O ) .

 

Address

 

 

Sigiianlre of Bankruptcy Petition Preparer or ohicer, principal, responsible person, or
partner whose social security number 1s provided above

 

Date '

prepared or assisted in preparing this document unless the bankruptcy
petition preparer is not an individual:

If more than one person prepared this document, attach additional _ 4 _
sheets conforming to the appropriate official form for each person.

A bankruptcy petztzon preparer s failure to comply with the provisions
of title 11 and the F ederal Rules of Bankruptcy Procedure may result .
infines or imprisonment or both ]] U.S. C. § ]]0,' 18 U.S. C. § 156.

 

 

 

 

 

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NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
OF THE BANKRUPTCY CODE

 

ln accordance with § 342(b) of the Bankruptcy Code, this notice: (l) Describes briefly tlie services available .
nom credit counseling services; (2) Describes briefly the purposes benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) lnforins you about bankruptcy crimes and notifies you
that the Attorney General may examine all information you supply in connection with'a bankruptcy case. You
are cautioned that bankruptcy law is complicated and not easily described Thus you may wish to seek the
advice of an attorney to learn of your rights and responsibilities should you decide to file a petition Court
' employees cannot give you legal advice. 1

- 1. Services Available from Credit Counseling Agencies
' With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy

relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy

 

filing The briefing may be provided individually or in a group (including briefings conducted by telephone or on the lnternet) '

and must be provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy
administrator. The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling
agencies . .

'In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management

instructional course before he or she can receive a discharge The clerk also has a list of approved financial management
instructional courses.

2. The Four Chapters of the Bankruptcv Code Available to Individual Consumer Debtors
Chapter 7 ' Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharges Total fee $299)

l Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts Debtors
whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case should be
permitted to proceed under chapter 7 lf your income is greater than the median income for your state of residence and family
size in some cases, creditors have the right to file a motion requesting that the court dismiss your case under § 707 (b) of the
Code. It is up to the court to decide whether the case should be dismissed

2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors _ ' 1

3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. lf, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if
it does, the purpose for which you filed the bankruptcy petition will be defeated t .

4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still
be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not

properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, v
or aircraft while intoxicated nom alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of _
fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not -

discharged

Chapter 13: Repayment of All or Part of the Deth of an Individual With Regular Incoine ($235 filing fee, $39
administrative fee: Tota`l fee $274)

l. Chapter 13 is designed for individuals with regular income Who would like to pay all or part of their debts in instalments
over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the

Bankruptcy Code.
2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,

 

 

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using your future earnings The period allowed by the court to repay your 2debts nia}Q 1336 t§ree §§aqseB or fo ve years depending

upon your income and other factors The court must approve your plan before it can take effect.

3. After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not

» properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term

secured obligations

' Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)

n Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors Its provisions are

quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

Chapter 12: Family Fa'rmer or Fisherman ($200 filing fee,' $39 administrative fee: Total fee $239)

1 Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future - '

earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income

_. arises primarily from a family~owned farm or commercial fishing operation

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3. Bankruptcy Crimes and Availabilitv of Bankruptcv Papers to L_aw Enforcenient Officials

A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of peijury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both All information supplied
by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office '
of the United States _Trustee, the Office of the United States Attorney, and other components and employees of the Department
of lustice

WARNING: Section 521(a)(l) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules and the
local rules of the court. 1

Certificate of [Non-Attorney] Bankruptcy Petition Preparer
l the [non-attorney] bankruptcy petition preparer signing the debtor’ s petition, hereby certify that l delivered to the debtor this notice
required by § 342(b) of the Bankruptcy Code

 

Printed Name and title, if any, _of Bankruptcy Petition Preparer Social Security number (lf the bankruptcy

VAddress: ,. _ _ ` _ _ ` petition preparer is not an individual, state

' the Social Security numberof the ocher,

`. principal, responsible person, or partner of
the bankruptcy petition preparer.)

.(Required by 11 U.S.C. § 110.) '

 

 

X

Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or

 

' partner whose Social Security number is provided above

Certificate of the Debtor ’

1 (We), the debtor(s), affirm thatl (we) have received and read this notice

Marinel|i, Mark S & Da|ly, Li||v K X/s/Mark S Marinelli ' . ` ' 1l22/2009

 

 

Pl`inte.d Nam€($) OfD¢thr(S) ' .' ' 1 Signature ofDebtor ' - ` ` Date
1 ease No. (if.i<nown) x /s/ Lilly K Da/ly . l .1/22/2009

 

 

Signature of Joint Debtor (if any) Date

 

 

l_'V'arineui,-marks 4 ` ' il 41 " ' Chapteri

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United States Bankruptcy Court

_ District of Nevada

 

Debtoi(s)

EXHIBIT D- ]NDIV[DUAL DEBTO_R'S STATEMENT OF COMPLIANCE
WITH CREDIT COUNSELING REQUIREMENT

Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens-, you will lose

whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed -
and you file another bankruptcy case later, you may be required _to pay a second filing fee and you may have to take extra steps - _

to stop creditors collection activities

" Ever'y individual debtor must ]ile this ExhibitD. If a joint petition zs filed each spouse must complete and f le a separate ExhibitD.- Check

one of the five Statements below and attach any documents as directed

` M1.Within the 180 days before the filing of my bankruptcy case, 1 received a briefing from a credit counseling agency approved by ` l l
the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in `

performing a related budget analysis and l have a certificate from the agency describing the services provided to me. Att'ach a copy of the
certificate and a copy of any debt repayment plan developed through the agency

[:| 2 Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by . ‘ 1 `

the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in

performing a related budget analysis, but l do not have a certificate nom the agency describing the services provided to me You must f le'~

a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
the agency no later than ]5 days after your bankruptcy case isft`led.

[:] 3.1 certify that l requested credit counseling services from an approved agency but was unable to obtain the services during the five
days nom the time l made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
requirement so l can file mybankruptcy case now. [Must be accompanied by a motion for determination by the court.][Summar'ize exigent
circumstances her'e.]

` If the court is satisfied with the reasons stated in your motion, it will send you an order approving your request. You must still

obtain the credit counseling briefing within the first 30 days after you file your bankruptcy case and promptly file a certificate from

the agency that provided the brief'mg, together with a copy of any debt management plan developed through the agency Any »_
extension of the 30- -day deadline can be granted only for cause and' 1s limited to a maximum of 15 days. Amotion for extension must _' : ,
1 be filed within the 30- -day period. Failure to fulfill these requirements may result' in dismissal of your case. If the court is not -

satisfied with your reasons for filing your bankruptcy case without first receiving a credit counseling briefing, your case may be

dismissed.

[:| 4 l am not required to receive a credit counseling briefing because of: [Check the applicable statement ] [Must be accompanied by a
motion for determination by the cour t ]

[:] _.lncapacity (Denned in 11 U S C § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable , _-

of realizing and making rational decisions with respect to financial responsibilities );

[:[ Disability. (Defined 111 11 U S. C § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to

participate in a credit counseling brienng in person, by telephone, or through the lnternet )_;
|:] Active military duty in a military combat zone.1 -

1 {:| 5 The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of ll U S. C. § 109(h)

does not apply in this district _

. 11 certify under penalty of perjury that the information provided above is true and correct

Signature of Debior; /s/ Mark s Marin`e/li
Date: Janua[_v 22l 2009

 

 

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INRE:1 _ 1 . 1 -_ . CaseNo.
Dal|v. Li|vi 1 4 _ 4 n ` '_ ' " ' v .. Chapter17

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United States Bankruptcy Court

District of Nevada

 

 

Debt01 (s)

EXH]BIT D- ]NDIVI])UA-L DEBTOR'S STATEMENT OF COMPLIANCE
WITH CREDIT COUNSEL]NG REQUIREMENT `

Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot .
do so, you are not1 eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose.
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If1youi case is dismissed
and you file another bankruptcy case later, you may be requii ed to pay a second filing fee and you may have to take extra steps 1
v to stop creditors collection activities.1

Every individual debtor must file this ExhibitD If a joint petition ls filed each spouse must complete and f le a separate ExhibitD Check 1 »
one of the five statements below and attach any documents as directed .

Ml With.in the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me ind '
performing a related budget analysis, and l have a certificate from the agency describing the services provided to me. Attach a copy of the--

certificate and a copy of any debt repayment plan developed through the agency

[:| 2. Within the 180 days before the filing of my bankruptcy case l received a briefing from a credit counseling agency approved by - _ " '
the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me. in;. ‘*
performing a related budget analysis, but l do not have a certificate from the agency describing the services provided to me You must f le .

a copy of a certificate f om the agency describing the services provided to you and a copy of any debt repayment plan developed through -

the agency no later than 15 days after your bankruptcy case is filed

l:l" 3 l certify that l requested credit counseling services from an approved agency but Was unable to obtain the services during the five
days from the time l made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
requirement so l can hle my bankruptcy case noW. [Must be accompanied by a motion for determination by the court ] [ Summar zze exigent

circumstances her_e.]

If the court is satisfied with the reasons stated in your motion, it will send you an order approving your request. You must still
obtain the credit counseling briefing within the first 30 days after you file your bankruptcy case and promptly file _a certificate from

the agency that provided the brief'_mg, together with a copy of any debt management plan developed through the agency Any
extension of the 150-day deadline can be granted only for cause and' is limited to a maximum of 15 days. A- motion for extension must-f - 11 -_ - b
be filed within the 30- -day period. Failur.e to fulfill these requirements may result 111 dismissal of your case. If the court is not v 1 1 ..
satisfied with your reasons for filing your bankruptcy case without first receiving a credit counseling briefing, your case may be '

dismissed.

11 I:l 4 l am not required to receive a credit counseling briefing because of: [Check the applicable statement ] [Must be accompanied by a .~
1 motion for determination by the court ] , ’
[:l lncapacity. (Deiined in ll U. S. C § lO9(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable . 1

of realizing and making rational decisions with respect to financial responsibilities );1
[:| Disability. (Def`ined m 11 U. S. C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
participate 111 a credit counseling briefing 1n person, by telephone, or through the internet ), . . .

|:I Active military duty in a military combat zone.

|:] 5 The United States trustee or baidc'uptcy administrator has determined that the credit counseling requirement of ll U S C § 109(h) `
'_does not apply in this district . . _ . g , 4 '

l certify under penalty of perjury that the information provided above is true and correct.

Signature of Debtor: /s/ Lilly K Dally
Date: .lanua[y 22l 2009 7 `

 

 

B6 Summary (Form6- Summar §12/00)
CaSe 1812- barn DOC 1 Entered 01/22/09 17: 03: 03 Page 8 of 35
United States Bankruptcy Court

District of Nevada

 

INRE: . . v v ‘ l . ..CaseNo.

Marinen`i, Mark s & Danv. Lmv K ' . . - ' 4 - » Chapter 7
` ' \' 4 Debtol(s) ' 4 '

SUM_:MARY OF SCHEDULES

Indicate as to each schedule whethe1 that schedule 1s attached and state the 11u1nbe1 of pages in each Report the totals flom Schedules A, B, D, E,' F, l, and J m the boxes _ :

provided Add the amounts from Schedules A and B to determine the total amount of the debtor’ s_ assets Add the amounts of all claims from Schedules D, E and F to

4 determine the total amount of the debtor’ s liabilities lndividual debtors also must complete the “Statistical Summary of Certain Liabilit_ies and Related Data” if they file

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a case undei chapter 7, ll, 01 l3

_ ` ME 4 ~ ' ‘ ATTACHED' NUl\/[BEROF -r ' - -
N OF SCHEDULE - (YES/NO) SHEETS l ' ASSETS 4 LIABILITIES

§A`!RealPrope'rty ' 4 -Y'es ' 4 ,202,500.00

B g Personal Property ` _ 4 v 4 " 4 _ 44,235.001
C`-4.P_rope1'ty _Claimed as Exempt
D - Creditors Holding Secured Claims ' 290,767.81.

E - Creditors Holding Unsecured Priority
Claims ('l`otal of Claims 011 Schedule E)

F - Creditors Holding Unsecured 4
Nonpriority Claims 157,450-77

G - Executory Contracts and Unexpired
Leases

H - Codebtors

7 _ I-»Curr_entlncome'oflndlvldual . - - .~ _ 35639.'12 _

Debtor(s)

J'- Current Expenditures oflndividual 7 __ n _ n 3’ 87 3_ 15

Debtor(s)

246,735.00 $ ,, 448,21_8.53

 

\

 

 

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. _ 1 rerei 110111` schedule D, 4"‘Ui\isECURED PoRTi'oN iF A_NY eeiumn .`
' 2. Total nom Schedule E, “AMOUNT ENTITLED TO PRIORI_TY” column. l

mm Sta“s“°a‘$“mc':“aar§§nd§)- 10312- barn Doc 1 Emered 01/22 09 17: 03: 03 P 9 135
United States Bankruptcy ({ourt age 0

District of Nevada

_]_`NRE: ‘ 4 . » . 4 CaSeNo.

Marinelli Mark s & Dauv. Liuv K 4 1 41 - 44 Chapter-7
Debtoi(s) `

STATISTIC`AL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA 4(28 U.` S. C. § 159)
If you are an individual debtor Whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.- S. C 4§.

 

 

. 101 (8)), filing a case under chapter 7 11 or 13 you must report all information requested beloW.

|:| Check4 this box if you are an individual debtor Whose debts are NOT primarily consumer debts You are not required to report any '

information here
This information 4is for statistical purposes only under 28 U.S.C. § 4145494.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 

Type of Liability y ` o .` v .' » 4 _ _ 4 ,-Amount'

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Domestic Suppoit Obligations (i`rom Schedule E) 4 ' _ $ 0.00
Taxes and Certain Other Deth OWed to Govemmental U_nits (fromSchedule E_) ‘ 4 $ `- ' ` j 0.004
Claims for Death or Personal Injury While Debtor Was Iiitoxicated (i`rorn Schedule E) (Whether . 4
disputed or undisputed) . _ $ 0.00
Student Loan Obligations (from Schedule 4F) 4 4 $ 0.00
Dornestic Support, Separation Agreemeiit, and DiVorce Decree Obligatioiis Notv Reported on .
Schedule E $ 0.00
Obligations to Pension or ProHt-Sharing, and Other Similar Obligations. (from Schedule F) $ 0.00
TOTAL $ 0.00
State the following:
Average Income (frorn Schedulel Line 16) _ $ 3,639._12
AVerage Expenses (from Schedule4 J,' Line 148)4- .4 4 4 4 ` , 4 44 44 4 - . - 4 ' .. $ , . k 3,8.7-3;‘15
current Menrhiy income (4£410111 Ferm 242A L1411e 12, 0R4 Fe14111 2213 Line 4;11 on Ferm 220 4 4 4 ` 4 4
Line 20 ) _ t - $ 4,444.75
_ State the following: '

 

   
 

55,_6_12.81

 

 

 

 

 

 

 

 

 

5 . Total of non-priority unsecured debt (sum of 1, 3, and 4)

 

 

34 Total from Schedule 13, “AMOUNT NOT4 ENTITLED TO PRIORITY, IF ANY’4’ column 0.00
4. Total ii'om Schedule F 4 4157,450.77- '
1 213,063.58

 

 

B6A(°m°ialF°’m6At§az§’@ 09- 10312- barn Doc 1 Entered 01/22/09 17: 03 03 Page 10 of 35

IN RE Marinel|i, Mark S & Dally, Lil|y K Case No.
Debtor(s) 4 - (If known)

SCHEDULE A'- REAL 4PR40PERTY

` Exeept as directed below, list all real property in which the debtor has 4any legal, equitable, or future interest, including all property owned as a cotenant, community

 

1 propeity, 01 in which the debtor has a life estate. Include any pi opeIty in which the debtor holds rights and powers exercisable for the debtor’ s own benefit Ifthe debtor is

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married state whether the husband, wife, both, 01 the marital community own the property by placing an “H, ” “W, ” “J, ” 01 “C” in the column labeled “Husband, Wife, Joint
or Community. ” 4Ifthe debtoi holds no mtei est in ieal property, write “None” under “Description and Location 0fPrope1ty.”1

Do not include interests in executory contracts and unexpired leases on this schedule List them m Schedule G- E4`.xecutory C40ntracts and Unexpired Leases.

\

If an entity claims to liave4 a lien 01 hold _a secui ed interest in any property, state the amount of the secured claim. See Sehedule D. lfno entity claims to hold4 a secured

interest in the piopeity_,' write “None” 111 the column labeled “Amount of Secured Claiin.”

Ifthe debtor is an individual or` if a 4joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C -'Property Claiined as Exempt.

 

 

 

 

 

 

 

E-:
E
. 0 >'
_ ~; 13 cURRENr vALuE or
. § § DEBrons mrEnEsr rN
_ - NAruRE oF_ DEBToR's ~ PRoPERrY wirnour AMouNr or sEcuRED
DESCRIPTIQN AI_"D LOCATION OF PROPERTY iNTEREsr m PROPERTY § 0 DEDucrrNG ANY' ' cLArM ' ' -
' z 0 sEcURED crAlM on
§ ca ExEMi>rioN
m 9 -
7804 Canoe Lane C 202',`500.00 ' 232,848.81
TOTAL 2402,500.00

 

 

 

(Report also on Summaiy of Schedules)

 

 

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IN RE Marine||i, Mark S & gapi\(/],El;.?ilz/_lpam DOC 1 Entered.Ol/Zz/OQ 17:03(41?183€ Ngiage 11 Of 35

 

Debtor(s) ._ . (If known)
-` ' 44 SCHEDULE B - PERSONAL PROPERTY

. '. Except'as directed below, list all personal property of the debtor of whatever kind. --If the debtor has 110 property in one or more of the categories place an “x’-’ in the4
appropriate position in the column labeled “None.” lf additional space is needed in any category, attach a separate sheet properly identified with the'case name, case iiuinber,

- v and the number of the category lfthe debtor is married, state whether the husband, Wife, b'otli, or the marital community own the property by placing an“‘I-I,” “W,” “J,4” or 4

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“C” in the column labeled “Husband, Wife, Joint, or Community.” If'the debtor is an individual or a joint petition is tiled, state the amount of any exemptions.claimed only
in Schedule C - Prop`erty Claimed as Exempt, - . v .

4 Do not list interests in executory contracts and unexpired leases on this schedule. List them iii Schedule G - Executory Contr_acts and Unexpired Leases. v

If_the property is being held for the debtor by someone else, state that person’s name and address under"‘Deser'iption and Location of Property.’; If~thev property is being
held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian,‘such as "A.B.,_ a minor child, by John Doe, guardian;" Do
not disclose the child's_ name. See, ll U.S.C. §112 and Fed. R. Banlcr. P. 1007(111). ' 14 . ' . ' v -. . 4 '

 

 

g § cuRREN'r vALUE 01= .
N 1 _ § § DEBToR's mrEREsr 1N
o . - . ' ' ’ PROPERTY Wr'rHoUT
Tvi=i~: 01= PROr>ERTY N DEsCRIPT_ION AND_ LOCA'rioN 01= PRoPERrY d.O DEDUCTING ANY
E ' z o SECURED cLAIM on
§ 5 ExEMi>noN
§ - ’
_ , m
4l. Qash on hand. 4 Ca$h C _ 20.00
. 2_~"Checlq`ng, Savings Or Other financial 1 Bank of America ACCt Ending in 2522 » C _ 30.00 ;.
4 accounts,.°€ftii°aie§ °f deposit °r Bank of America Acct Ending in 421644 v C _4 . ' 30100
shares in banl<s, savings and loan, y ‘ _ _ w _ ' 1 ' . '
thrift building audioan, and Bank of-Amerlca Acct Endmg m 4621 _ . C 100.00
; homestead associations or credit ' 4 4 ` ` " ' ' '
unions, brokerage houses, or
cooperatives `
3. Security deposits with public utilities, X
telephone companies, landlords, and
others .
4. Household goods and fumishings, Ol'dil'la|"y HOUSehOId GoOdS C 5,000.00
include audio, video, and computer
equipment _
5 . Books, pictures and other art objects, X
antiques, stamp, coin, record, tape,
compact disc, and other collections or
collectibles. `
6. Wearing apparel. Cithi|‘\g ' C 2,500.00
7. Furs andjewehy. Wedding Rings 4 C 1,000.00
8. Firearms and sports, photographic, Gio§k 9N|M . ~ y 1 _ _ :~ . ~ , _ C 200.00 ~
4 a.nd Oth_€r hobby equipment ' v ' . ` ' ' ~ - ' -
_ '9. Intei'est in insurance policies Name X 4 ' . 4 4 l 1 . ` ~_ q

insurance company of each policy and
itemize surrender or refund value of k

each. q g

10. Aiinuities. Itemize and name each ; X
issue. 4 ’

11. Interests in an education lRA as X

defined in 26 U.S.C. § 530(b)(l) or
' » under a qualified State tuition plan as
defined in 26 U.S.C. § 529(b)(l).
Give particulars (File separately the
record(s) of any such interest(s). ll
- U.S.C. § 521(0).)

12. mereer 111 IRA, ErusA, Keegh, er X

other pension or profit sharing plans

Give particulars
_ 13. Stoclc and interests in incorporated , px _ 4 ` ` 4 - 1
' and unincorporated businesses 4
5 Iternize.
14. Interest.s in partnerships or joint 4 X

ventures Iternize.

 

 

 

 

 

 

 

 

 

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B6B (Offrcial Form GBBHQB -6 n

Debtor(s)

SCHEDULE B ~ PERSONAL PROPERTY'
` _ _ _(CO_Hf_inuation Sheet) . ~ _

Case No.

_ t10312-bam Doc 1 Enrered 01/22/09 17:03:03 Page 1201c 35
IN RE Marine||i, Mark S & Da|ly, Li|ly K

 

(lf known)

 

TYPE OIj` PROPERTY '

mZOZ

l)_ESCIllPllON AND LOCATION OF l’ROPERTY

HUSBAN D, WIFE, JOIN'I`,
OR COMMUNI'I'Y

CU RREN'I` VALUE OF
DEBTOR'S INT,EREST IN
PROPERTY Wl'I`HOU'l`
DEDUCTING AN_Y
4 SECURED CLAIM OR
EXEMPTION

 

 

15.

16.»
17.

18.

19.

20.

21.

22,
23.

24.

25.

26».
274.
28.
29.

30.
`31.

Govemment and corporate bonds and

4 other negotiable and iron-negotiable

instruments

Accounts receivable .

,4Alim0ny, maintenance support, and

property settlements in which the
debtor is or may be entitled Give'.
particulars

Other liquidated debts owed to debtor
including tax refunds Give
particulars ~

Equitable or future interest;_ life
estates, and rights or powers
exercisable for the benefit of the
debtor other than those listed in
Schedule A - Real Property.

Contingent and noncontingent
interests in estate of a decedent, death

benefit plan, life insurance policy, or '

ti'ust.

Other contingent and unliquidated
claims of every nature, including tax
refunds, counterclaims of the debtor,
and rights to setoff claims Give
estimated value of each.

Patents, copyrights and other
intellectual property. Give particulars
Licenses, franchises and other
general intangibles Give particulars

Customer' lists or other compilations
containing personally identifiable
information (as defined in ll U.S.C. `§

- 101(41A)) provided to the debtor by _

individuals in connection with
obtaining a product or service from

. the debtor primarily for personal,
v family, or household purposes

Autoniobiles, trucks, trailers, and
other vehicles and accessories
Boats, motors, and accessories
Aircraft and accessories

Oftice equipmerit, fumishings, and
supplies

-Machinery, fixtures, equipment, 'aiid

supplies used in business
Inventory. 4
Animals.

 

 

2007 Ford Expl_o_rer v
2007 Ford Exp|orer Truck
1998 19' Bayliner . '

 

 

415,615.00__`
14,240.'00
5,500.00

 

 

 

 

 

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else O -10812-bam Doc 1 Entered 01/22/09 17:03:03 Page 13 of 35
]N RE Marine||i, Mark S & Da|ly, Lilly K CaS€ NO.
Debtor(s) _ (Ifknown)
SCHEDULE B 4 PERSONAL PROPERTY
,' (Continuation Sheet) ._ '
§ _ .
9-_§ QmmENT vALUE oF
N . § § DEBi_"oR's n\!TF.REsT 1N
TYPE o_F PRoPizRT\' _ § nESC_RIPrroNANDLocATroN‘oF PRoPERTY " ' §§ PW§§§;I§§T£$;,JT
~ E § 8 sEcURED cLAIM on
m g EXEMP'HON
g
m
32. 'Crops - growing or harvested. Give X
particulars
33. Fanning. equipment and implements X
34. Farm supplies, chemicals, and feed. X
35 . Other personal property of any kind n X
not already listed. Iternize.
'I`OTAL 44,235.00

g continuation sheets attached

 

 

 

(Include amounts Jn'om any continuation sheets attached

Report total also on Summary of Schedules.)

 

 

 

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B6C (Official Form 6C) 12/07)

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]N RE Marine||i, Mark S & Dal|y, Lil|y K

Debtor elects the exemptions to Which debtor is entitled under: ` ~

(Check one box)

Debtor(s)

Case No.

Page 14 of 35

 

SCHEDULE'C -'PROPERTY CLAHVIED AS EXEMPT

|:| 11 U.s.C. § szz(b)(z)
' M’li U.s.c. § 522(b)(3)

(lt` known)

. . MCheck if debtor claims a-homcstead exemption that exceeds $13_6,875. 4 " '

 

 

 

 

2007 Ford Explorer Tr`uck '

 

 

_ ` , l . cURRENr\/ALUE -
DEscRIPTIoN 0F PRoPERTY sPECIFY LAw PRovIDING EAcn ExEI\n>TIoN ' VAL§)EEONYP‘§II“S§WD . WITS§§¥%§I§£§HNG
_ . ~ ExEMPrroNs
scHEDu`LE A - R`EAL PRoPERTY _ v _ _ ' .
7804 canoe Lane - NRS §§ 115_.010(2), 21 .090(1)(1) 202-,500.00 202,500.00
SCHEDULE B - PERSONAL PROPERTY ' . _
ordinary Household Goods NRS § 21.090(1)`(13) ' 5,000.00 5,000.00
clock 9mm ~ NRS § 21 .090(1)(i) 200.00 ’200.00
' 2007 Ford EXPIO|‘e|' NRS § 21.090(_1)(f) ` 15,615.00 1'5,615.00 '
NRS § 21.090(1)(f) 14,240.00 _ v'14-,24(].00

 

 

 

 

 

 

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B6D (Ofiicial Form 6D)élZ/07)
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]N RE Marine||i, Mark S & Da|ly, Li||y K ase o
Debtor(s) (If known)

` " SCHEDUL’E D "- CREDITORS'HOLDING SECURED' CLAIMS

State the narne, mailing addr ess, including zip code, and last four digits of any account number of all entities holding claims seemed by property of the debtor as of the
date of filing of the petition. The complete account nmnber of any account the debtor has with the creditor rs useful to the trustee and the creditor and may be provided if
the debtor chooses to do so List creditors holding all types of seemed interests such as judgment liens, garnishments statutory liens, mortgages deeds of trust, and other

security interests

 

‘ List creditors rn alphabetical order to the extent p1act1cable If a minor child rs the creditor, state the child's initials and the name and address of the child's parent 01
guardian, such as "A. B., aminor child, by John Doe, guardian. " _Do not disclose the child's name See, ll U S. C §112 and Fed. R. Bankr. P. 1007(m) Ifall secured creditors _

will not frt on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in th`e column labeled “Codebtor,” include the entity on the appropriate
schedule ofcreditor's, and complete Schedule H Codebtors. Ifa joint petition is liled, state whetherthe husband, _wife, both of them or the marital community may be liable
on each claim by placing an “H, ” “W, ” “J, ” or “C” rn the column labeled “Husband, Wife, Joint, or Comrnunity. ” ` _ .

lf the claim rs contingent, place an ‘_‘X” rn the column labeled “Contingent. ” lfthe claim rs unliquidated, place an “X” in the column labeled “Unliquidated. ” Ifthe claim
is disputed, place an “X” m the column labeled “Disputed. ” (You may need to place an “X” 111 more than one of these three columns ) . _ - .

Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecur ed Portion, if An}f’ 1n the boxes labeled “Total(s)” on the last sheet
of the completed schedule Report the total nom the column labeled “Arnount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and, ~
if the debtor is an individual with primarily consumer debts report the total from the column labeled “Unsecured Portion, if A_ny” on the Statistical Sunnnary of Certain

Liab_ilrties and Related Data. '
[:| Check this box if debtor has no creditors holding secured claims to report on this Schedule D

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

§
9. 121 1- § `
- 4 ¢: mg z 1a a AMoUNr or _
cREDrroR's NAMEANDMAerG ADDREss 2 a nATE cLAnvr wAs mcURRED, § § 13 cLAiM wrrHo_Ur .
mcLUDING zIP coDEANDAccoUNr NUMBEIL § §§ NATURE 0FL1EN,'ANDDESCR1PT10NANDVALquF § 5 § DEDUcho ~ POUR¥§§§U§EA%Y -
(See Insl)'uctio)rr Abave.) 3 D"O PROPERTY SUBJECT TO LIEN § g g VALUE OF ’
. 0 §§ 3 § 11 coLLATERAL
g o
:>
m
ACCOUNT NO. 59209092507408 C Boat Loan 2,800.00
Bank Of America
PO Box 538610
At|anta, GA 30353-8610
VALUE $ 5,500.00
ACCOUNT NO. 42289983 C Vehicle Loan . 28,31_9.00 12,704.00
Ford Motor Credit 4 `
PO Box 7172
Pasadena, CA 91109-7172
_ - 7 . VALUE$ 15,615.00 . v
ACCOUNTNO. 041'000008117543 C VehiC|e Loan ` _ - ' ' ‘ ' ` -- 26,800.00 . 12,560.00 -
Ford Motor Credit v
PO BOX 7172
Pasadena, CA 91109-7172
VALUE-5 14,240.00 `
AccoUN'r No. 5304377285 ' C Morfgage _ ~ 232,848.81 ' 30,34.8.81 1
- Washington Mutual Bank ` ` ~ ' ' ' ~`
PO BOX 9180
P|easanton, CA 94566
VALUE 3 202,500.00 k
. ' ' ' . . . _ Subtotal `
0 continuation sheets attached - ’ n . l ' . '(Total of this page) . $ 290,767.81 S 55,612.81
' ` - .Torar ' . '
(Use only 011 last page) $ 290,767.81 $ 55,612.81
- ` , ` v . ' (Report also on (If applicable, report
/ ' Summary of also on Statistical
' Schedules.) Summary of Cerlain

Liabilities and Related `
Data.)

 

 

 

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]N RE Marine||i, Mark S & Da|ly, Li||y K Case No.
Debtor(s) ' (Iflcnown)

SCHEDULE E`- CREDITORS HOLD]NG UNSECURED PRIORITY CLA]]VIS

 

v A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to . `

priority should be listed 111 this schedule 111 the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account

' = number, if any, of all entities holding priority claims against the debtor 01 the property of the debtor, as of the date of` the filing of the petition Use a separate continuation

sheet for each type of priority and label each with the type of priority

The complete account number of any account the debtor has with the creditor rs useful to the trustee and the creditor and may be provided if the debtor chooses to do_ so
lf`a minor child rs a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A. B., a minor child, by John Doe, guardian " Do
not disclose the child's name. See, ll U. S. C. §112 and Fed. R Bankr. P 1007(111). , .

lf any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the colunm labeled "Codebtor, " include the entity 011 the appropriate
schedule of` creditors, and complete Schedule H- Codebtor's. lf`a joint petition is frled, state whether the husband, wife, both of them or the marital community may be liable '

orr each claim by placing an "H " "W, " "J, " 01 "C" 111 the column labeled "Husband, Wife, Joint, or Comrnunity. " lfthe claim rs contingent, place an "X" rn the column labeled

"Contingent. " Ifthe claim rs unliquidated, place an "X" in the colurrm labeled "Unliquidated. " Ifthe claim rs disputed,_ place an "X" in the column labeled "Disputed. " (You- .

may need to place an "X" in more than one of these three columns. )

Report the total of claims listed on each sheet 111 the box labeled '.'Subtotals" on each sheet Report the total of all claims hsted 011 this Scliedule E 1n the box labeled “Total” ' »
'on the last sheet of the completed schedule Report this total also on the Summary of Schedules.

Report the total of amounts entitled to priority hsted orr each sheet rn the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority listed
on this Schedule E rn the box labeled “Totals” 011 the last sheet of the completed schedule individual debtors with primarily consumer debts report this total also 011 the
Statistical Summary of` Certain Liabilities and Related Data. v 4 .

Report the total of amounts n___ot entitled to priority listed on each sheet 111 the box labeled “Subtotals” 011 each sheet Report the total of all amounts not entitled to priority
listed on this Schedule E rn the box labeled “Totals” on the last sheet of the completed schedule. hrdividual debtors with primarily consumer debts report this total also on
the Statistical Summary of Certain Liabilities and Related Data. .

MCheck this box if debtor has no creditors holding unsecured priority claims to report on- this Schedule E

TYPES OF PRIORITY CLAIMS (Check the appropriate box`(es) below if claims in that category are listed 011 the attached sheets)
[:] Domestic Support Obligations 7

Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legalc Uuardian, or
responsible relative of` such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided m ll

U.s.C. § 507(3)(1).

]:| EXtensions of credit in an involuntary case
Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief`. ll U.S.C. § 507(a)(3),

[I Wages, salaries, and commissions
Wages, salaries, and commissions including vacation severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $10 950* per person earned within l 80 days immediately preceding the filing of the original petition, or the
cessation of` business, whichever occurred first to the extent provided rn ll U S. C. § 507(a)(4).

|:] vContributions to employee benefit plans ' -
Mon_ey owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided m ll U. S. C; § 507(a)(5)

|:| Certain farmers and fishermen
Claims of certain farmers and fishermen, up to $5, 400* per farmer or fisherman, against th`e` debtor as provided m ll U. S. C § 507(a)(6)

|j Deposits by individuals v 4 ' ~
Claims of`individuals up to $2, 425 * for deposits for the pur chase, lease, or rental of` property 01 services for personal f`amily, or household use that
' were not delivered or provided ll U. S. C. § 507(a)(7) ' " . va .. .

b |:] Taxes and Certain Other Deth OWed to Governmental Units

TaXes, customs duties, and penalties owing to federal, state, and local governmental units as set forth 111 ll U S. C. § 507(a)(8).

|:| Commitments to Maintain the Capital of an Irisured De'pository Institution

Claims based on commitments to the FDIC, RTC Director of the Ot`f`rce of Thrrft Supervision Cornptroller of the Currency, or Bo_ard of` Governors
. y oftheFederal Reserve System, or theirpredecessors or successors, to maintain the capital of an insured depository institution l l U. S. C. § 507 (a)(9).

v [:| Claims for Death or Personal Injury While Debtor Was Intoxicated-

Claims for death or personal 1njury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using al_,cohol -

a drug, or another substance ll U. S. C. § 507(a)(10).

* Amounts are subject to adjustment on April l, 2010, and every three years thereafter with respect to cases commenced 011 or after the date of adjustment

0 continuation sheets attached

 

 

 

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]N RE Marinelli, Mark S & Da|ly, Lilly K CaSeN 0
Debtoi(s) (Ifknown)

` "SCHEDULE"F ~ CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS' 1 '

 

' ' State the name, mailing address, including zip code, and last four digits of any account number,- of all entities holding unsecured claims without prioiity_against the debtor. ,
oi the pi operty of the debtor, as of the date of filing of the petition. The complete account numbei of any account the debtoi has with the creditoi is useful to the tinstee and , .
-the creditor and may be provided if the debt01 chooses to do so If a minoi child is a creditor, state the child's initials and the name and address of the child's parent or ‘
guardian, such as "A. B, aminoi child, by John Doe, guardian. " Do not disclose the child's name. See, ll U. S. C. §ll2 and Fed. R Banlcr. P. 1007(m). Do not includeclaims »'

listed iii Schedules D and E. If all creditois will not fit on this page, use the continuation sheet provided.

lf any entity other than a spouse in a joint case may be jointly liable on a claiin, place an “X” in the column labeled “Codebtor, ” include the entity on the appropiiatev .
schedule of creditors, and complete Schedule H- Codebtors. lfa joint petition is iiled, state whether the husband, wife, both of thein, or the maiital community may be liable , '

on each claim by placing an “H, ” “W, ” “J, ” or ‘.‘C" in the coluimi labeled “Husband, Wife, Joint,_ 01 Conununity.”

Ifthe claim is contingent, place an “X” in the column labeled “Contingent. ” Ifthe claim is unliquidated, place an “X” in the coluirm labeled “Unliquidated. ” Ifthe claim 4 y

is disputed, place an “X” in the column labeled “Disputed ” (You may. needl to place an “X” in more than one of these three columns. )

Report the total of all claims listed on this schedule in the box labeled “Tot;al” _on the last sheet of the completed schedule. Report this total also on the Summary of _

Schedules and, if the debtor is an individual with primarily consumer debts, repoit this total also on the Statistical Summary of Certain Liabilities and Related Data.

|:| Checl< this box if debtor has no creditors holding unsecured nonprioi'ity claims to report on this Schedule F

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

§
z 91 § i~ §
4 cREDiTOR'sNAME, MAILiNG ADDRESS 4 8 § § 4 DATE CLAIMWAS INCURRED'AND § § § AMoUN'r
_iNcLUDiNG Zn> coDE ANDACCOUNrNUMBEIL § B§ __ coNsiDERATiON FOR CLAIM.n=cLAn/i 1s § 5 g oi=
(SeelnstmctionsAbove.) 3 do SUB]'ECT TO SETOFF,SO STATE § g 52 CLAIM
v § "’ ,. 0 ~1 a _
a 5 ° §
2
ACCOUNT NO. 5584-1893-0241-0463 C Credit Card
Advanta
PO BOX 8088
Philadelphia, PA 19101-8088
. 7,086.53
ACCOUNT NO. 3713-386635-61004 C Credit Card `
American Express
Box 0001
Los Angeles, CA 90096-0001
2,900.00
AccoUNT No. 3772-391693-21005 C_¥ _ Cre`di_t Card
American Express ' `
Box 0001 , ‘
Los Angeles, CA 90096-0001 `
. , ~_ . . - _ 1,400.0`0
_ ACCOUNT NO. 3713-423298-91003 ' ' C Credit Card_
American Express ' ' '
Box 0001
Los Ange|es, CA 90096- 0001
7,`987._21
.' ,_ v ',` ' ’ ', - _ Subtotal ' ~
4continuation sheets attached ' ’ _ ` _ _- n . (Total of this page) $ 19,373.74
' ' ' ' ` l " ' Total
CU se only on last page of the completed Schedule F Report also on
the Summary of Schedules and, if applicable, on the Statistical
‘ Summaiy of Ceitain Liabilities and Related 'Data.) $

 

 

 

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Case No.

 

 

IN RE Marine||i, Mark S & Da|ly, Lilly K

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor(s) l ' ‘ - (Ii"known)
' SC'HEDULE F - CREDITORS'HOLDI]\IG UNSECU`RED`NONPRIORITY CLAIl\/IS ' ` `
(Continuation Sheet) _ ,
g § § 1~ 3
cREDiToR's NAME,.MAILING ADDRESS 2 iii § DATE cLAIM wAS iNCURRED AND _ § § g AMOUNT
lNCLUDn\iG zii> CODE, AND ACCoUNT NUMBEK E,'j, §_ § coNsIDERATiON FoR cLAiM. Ii= CLAIM is 5 54 § oi=
1 . -, ' ' (See])is/mctionsAbo`ve.) ' 8 § 8 'SUB.TECT TO SETOFF, SO STATE 12 g g CLAIM
. 0 < d , _ 4 8 § n ,
§ 0
2
ACCOUNT NO. 3715-661212-01009 C _ Credit Card
American Express '
BGX 0001 _
LOS Angeles, CA 90096-0001
3,644.00
A_CCOUNT NO. 4003-3800-0012-6891 C Credit Card
Bank Of Ameriea b
PO Box 15170
' Wilming’ton, DE 19886-5710 - y
. ' . 23,027.19
AccoUNT No. 4888-9361-4828-4502 C Credit Card - " -
Bank Of America
PO Box 15026 _
Wilmington, DE 19850
12,730.81
ACCOUNT NO. 5329-0645-5415-5068 C Credit Card
Bank Of America
PO BOX 15026
Wilmington, DE 19850
. 9,450.00
ACCOUNT NO. 4888-9360-9656-2081 ' C Credit Card
Bank Of America `
PO BOX 15026
Wi|mington,_ DE_19850
, . 3,900.00
ACCOUNT_NO. 5178052514535369 C Credit Card' '
CAP|TAL ONE . ` ' »
PO BOX»70884
Charlof'te, NC 28272
. - ~ - 4,173.03
AccoUNr No. 5149-2298-3001-8_228 C' Credit Card t _ .
ChaSé ' t
PO BOX 24573
Columbus, OH 43224
. . .6,774.4'5
Sheet no. 1 of 4 continuation sheets attached _to . Subtotal
Schedule of Creditors Holding Unsecui'ed Nonpriority Claims ` (Total of this page) $ ' 63,699.48
n ' Total
(U se only on last page of the completed Schedule F. Report also on
the Summary of Schedules, and if applicable, on the Statistical
Summaiy of Certain Liabilities and Related Data.) $

 

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(Use only on last page of the completed Schedule F. Report also on
the Summary of Schedules, and if applicable, on the Statistical
Summary of Certain Liabilities and Related Data.)

 

 

IN RE Marine||i, Mark S & Da|ly, Lilly K age NQ
Debtor(S) (If known)
SCHEDULE F- CREDITORS HOLDING `UNSECURED NONPRIORITY CLAIl\/.[S
(Continuation Sheet) '
§
a §§ 4 t - . z §
cREDiToR's NAME. MAILING ADDRESS 2 § DATE cLAIM wAs INCURREDAND 3 < 194 AMoUNT
mcLUDING zn> coDE,AND AccoUN'r NUMBEK §§ § .coNsIDERATioN Fon cLAIM.chLAu\/us z § § ~ oF
(.S`ee111st)1lctiolrsAba\fe.) 3 § 8 SUBIECT TO SETOFF, SO STATE § g g (_JLAIM '
o § ¢: ` ' 8 § o `
m 0 D
2
_ ACCOUNTNO.4428-1356-6274-4119 C Credit,Card
Choice ' °
PO Box 6413
The _Lakes, NV 88901-6413
. 17,030.35
ACCOUNT NO. 508229005449785`1 C' Credit Card -
Citi Business Card ~
PO Box 6409
The Lakes, NV ,88901-6409
. - ' » _- 7,820.98
AccoUNT No. 5410-6541-5735-8018 C Cre:dit Card
Citi Cards
PO Box 45129
Jacksonvil|e, FL 32232
15,321.76
ACCOUNT NO. 3743-541064-55040 C Credit Card
Dillard's
PO Box~981430
E| Paso, TX 79998-1430
. -1,491.59
ACCOUNT NO. 6011-0093-7060-4097 C Credit Card k
Discover Card `
PO Box 960013
Ol_'|ando, FL 32896 -
_ 2,145.08 _
ACCOUNTNO. 4146-8200-0223-3045 n »C Credit Card
Emerge ` ' '
PO Box 1249
Newark, NJ 07101- 1249
. 6,935.81 _ .
ACCOUNT No. 4146-8200-0232-9280 C Credit Card` '
'- Emerge
PO Box 1249 _
Newark, NJ 07101-1249
_ . . 6,100.00
Sheet no. ` 2 of n 4 continuation sheets attached to Subtotal
Schedule of Creditors Holding Unsecured Nonpriority Claims ('l`otal of this page) $ 56,845.57
Total

 

 

 

 

 

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]N RE Marine||i, Mark S & Da|ly, Lilly K

 

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(U se only on last page of the completed Schedule F. Report also on
the Summary of Schedules, and if applicable, on the Statistical
Summary of Certain Liabih'ties and Related Data.)

 

 

Debtor(s) (If known)
" ' " SCHEDULE F- CRE'DITORS HOLD]NG UNSECURED NONPRIORITY CLAIMS
' (Continuation Sheet)
§§ § §§
12 ," `
cxmmToR's NAME,MAmeGADDREss 8 §§ DATE cLAIMwAs'INcURRED AND ,. 5 § 91 _ AMouNT
INCLUDINGZIP CODE,ANDACCOUNTNUMB_EK § §§ ' CONSIDERATION FORCLAIM.IFCLAIMI_S § 5 § OF
(SeelnslmcliansAbove.) 8 C\ O b SUBJEC`[ TO SETOFF,SO.STATE § g §§ CLAIM .'
_ o § U v 0 g .
m s v §
§
ACCOUNT No 4479- 9413- 1145- 1297 ,C Credit Card
Gap Visa -
PO Box 960017
Or|ando, FL 3289_6-0017 - `.
'. 765.14 __
AccoUNT`NO. 0373354117' C Credit Card ~
Kohl's
PO Box 30510
Los Angeles, CA 90030-0510
- _ 1,243.08
ACCOUNT NO. 82222290077555 C Cre_dit Card
l__owe's
PO Box 981084
E| Paso, TX 79998-1084
l 1,449.44
ACCOUNT NO. 480005762580 C Credit Card
Macys
PO Box 6938
The Lakes, NV 88901
2,774.68
ACCOUNT NO. 5888964129906619 C Credit Card
Pier 1
PO Box 94012 -
Pa|atine, lL 60094-4012
_ l 616.68
AccoUNT No 5121-0750- 3271- 1652 - C Credit Card '
Sears Card
PO Box 6189
Sioux Fa|ls, SD 57117
- . 4,292.32
ACcoUNT No. 4352-3767-3660-8787 C credit Card
Target Nationa| Bank
PO Box 59317 ‘
Minneapo|is, MN 55459-0317
4,079.37
Sheet 110. 3 of 4 continuation sheets attached to ' Subtotal - - _ .
Schedule of Creditors Holding Unsecured Nonpriority Claims (Total of this page) $ - 15,220.71 '
Total '

 

 

 

 

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]N RE Marine||i, Mark S & Da|ly, Lilly K

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor(s) (lf known)
SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAJl\/IS
(Continuation Sheet)
§
9 § 1-< 3
. ,_, h _
' cREDIT'oR's NAME, MAILING ADDRESS ’ 8 gi DATE cLAIM WAs 1NcuRRED A`Nn § § 91 AMouNT
INC_LUDING zIP CoDE, AND AccotJNT NUMBEK § §_ `coNsIDERATIoN Fol_z cLAIM. IF CLAJM Is § 5 § 01= ,
(See Instmctions Above.) 3 § 8 SUBJECT 'l`O SETOFF, SO STATE § g g CLAIM
. 0 < x v 8 § a
g 0
:>
m
' ACCOUNT NO. 592308928 C Credit Card
Victoria'$ Secret
PO BOX 659.7 28
San Antonio, TX 78265-9728
. . 41 1 .27
ACCOUNT No. 4152050318 C Purchase$ ' ‘
Wel|s Fargo Financia|
3201 North 4th Ave.
Sioux Fa|l_s, SD ' 57104
1,900.00 n
ACCOUNT NO.
ACCOUNT NO.
ACCOUNT NO.
ACCOUNT No'.
' ACCOUNT NO.
_Sheet no. ` 4 of 4 continuation sheets attached to » - Subtotal - '
Schedule of Creditors Holding Unsecured Nonpriority Claims (Total of this page) $ . 2,31 1 .27
' ` v , Total
(Use only on last page of the completed Schedule F. Report also on
the Summary of Schedules, and if applicable, 011 the Statistical
Summaly of Certain Liabilities and Related Data.) $ 157,450.77

 

 

 

 

 

 

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m RE Marine||i, Mark S & Da|ly, Lilly K Case No
Debtor(s) (Ifknovvn)

" `SCHEDULE G‘-"EXECUT~OR‘Y CONTRACTS'"ALND UNEXPIRED LEASES '

 

Descn'be all executoly connacts of any natLue and all unexpi1 ed leases of real or personal p1operty Include any timeshare intel ests. State nat111e of debto1’ s mtel est 111 n
contract, i. e., “Purchaser, ” “Agent, ” etc. State whethei debt01 is the 1ess01 01 lessee of a lease. Provide the names and complete mailing add1esses of all other parties to each '
_ lease or contract described. If a minor child 1s a party to one of the leases or contracts, state the child's initials and the name and add1ess of the child's parent 01 guardian~,

such as "A.B., a minor child, by John Doe, guardian " Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(111).

l MCheck lthis box if debtor has no executory contracts or unexpired leases.

 

. NAME AND MAILING ADDRESS, 1NCLUD1NG zIP CoDE' ' . DESC§;§I§N OFTC!_?I§`]RT§Q§TE°IR§E§§§ AND b$;§!§£l;{§§§;°ms INTEREST'
oF oTHER PARTIES To LEASE ok coNTRACr - HE S S 0 01 ’RES ROPERTY'
l _ _ sTATE coNTRAcT NuMBER oF ANY GovERNMENT coNTRAcr,

 

 

 

 

 

 

 

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IN RE Marine||i, Mark S & Da|ly, Lilly K . Case o. .
Debtor(s) (Iflcnown)

‘ 'SCHEDULE`H `- CODEBTORS ` `

Provide the infonnation requested concerning anyperson or entity, other than a spouse in a joint case, that is` also liable on any debts listed by the debtor in the schedules

'of creditors Include all guarantors and co-signeis. Ifthe debtor resides or resided in a community property state, commonwealth, or tenitory (including Alaska, Arizona,

' ~ Califomia, Idaho, I_ouisiana, Nevada, New Mexico, Puelto Rico, Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement

.of the case, identi the name of the debtor’s s ouse and of any former s ouse who resides or resided with the debtor in. the community prop state,- conunonwealth, or v
P P

teiritoiy.,ln`clude all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. lf a minor child is a codebtor or

a creditor, state the child's initials and the name and address of the child's parent or- guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's

', name. See, ll U.S.C. §112 and Fed. R. Bankr. P. 1007(111).

' MCheck this box if debtor has no 'code'b_tors.

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NAME AND ADDRESS OF CODEBTOR l ' NAME AND ADDR.ESS OF CREDITOR

 

 

 

 

 

 

 

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IN RE Marine||i, Mark S & Da|ly, Lilly K Cas
Debtor(s) _ (If known)

z SCHEDULE I- ` "CURRENT INCOME OF INDIV]DUAL DEBTOR(S) " " ' ' ' ` '

 

The column labeled “Spouse” must be completed m_ all cases filed by joint debto1s and by every married debtor whether 01 not a joint petition is iiled, unless the spouses » 1
are separated and a joint petition is not filed Do not state the name of any minor child, The average monthly income calculated on this fonn may differ from the cuirent v '~

l 4 monthly mcome calculated on Fro1n 22A, 22B, 01 22C.

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_ 14. SUBTOTAL OF LH\IES'1 TIJROUGH 13
' 15. AVERAGE'MONTHLY INCOlV[E (Add amounts shown on lines 6 and 14) l

 

 

 

 

 

 

 

 

 

 

 

 

 

 

D'ebtors Marital Status ' l ' `DEPENDENTS OF DEB'I`OR AND SPOUSE
lMarrie¢ql . RELATIONSHIP(s); j ` ' . 1 . . _ AGE(s);
EMPLOYMENT: DEBTOR in - SPOUSE
occupau'<>'n - / ` . » see schedme Attached
Name of Employer Unemployment ' n ' -
How long employed
Address of Employer
INCOME: (Estimate of average or projected monthly income at time case tiled) _ _ DEBTOR SPOUSE
l. Current monthly gross wages, salary, and commissions (prorate if not paid monthly)` ~' $ 1‘,572.'00 $ '2,788.53-
' 2. Estimated monthly overtime _ - , $ ' - $
3. sUBToTAL 4 . j _ I$ - 1,572.00 $ 2,788.53|

4. LESS PAYROLL DEDUCTIONS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

a. Payroll taxes and Social Security $ $ 561 .51
b. Insurance $ $ 1 59.90
c. Union dues $ $
d. Other (specify) $ ' $
$ $
5. SUBTOTAL OF PAYROLL DEDUCTIONS $ 0.00 $ 721 .41
6. TOTAL NET MONTHLY TAKE HOME PAY $ 1,572.00 $ 2,067.12
7. Regular income from operation of business or profession or farm (attach detailed statement) $ $
8. Income from real property ' $ $
9 Interest and dividends ' $ $
lO Alimony, maintenance or support payments payable to the debtor for the debtor’ s use or
that of dependents listed above ' $ $
ll. Social Security or other government assistance f ' ' ` ` ' '
(Specify) ' $ $
$ $
12. Pension or retirement income $ $
l3. Other monthly income
(Specify) $ $
$ $
$ $

 

 

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15; . __ v
if there 1s only one debtor repeat total reported on line l5) , v ~ $ ' l 3,639.12

' (Report also on Summary of Schedules and, if applicable, on v '_
Statistical Summary of Certain Liabilities and Related Data)

 

 

 

l'7. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document
None

 

 

 

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IN RE Marinelli, Mark s & Da|ly, 1_111y K Cas
, Debtor(s)

SCHEDULE I- CURRENT INCOME OF ]NDIV]])UAL DEBTOR(S)
v Continuation Sheet- Page 1 of 1

 

EMPLOYMENT; ' DEBroR 4 ' 44 ‘ 4sPoUsE

_ Occupation ` ~ . . ' f . v Bartendel'
Name ofEmployer " j ‘ ' k Rampart CasinO 1 ' ~_ ~ ' f
How long employed ' '- ' ' 10 years
Address of Employer 221 N. Rampal't Blvd
' 1 Las Vegas, NV
Occupation . y _ ' '
` Name of Employer ` 1 . t Ram'pa!"tv CaSinO - ~TipS

How long employed

l Address of Employer

 

 

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( °“ "“ ”€a é 09 10312- barn Doc 1 Emered 01/22/09 17: 03: C03 Page 25 of 35
lN RE Marine||i, Mark S & Da|ly, Lilly K Case No.
Debtor(s) ' (If knowii)

` SCHEDULE J- CURRENT EXPENDITURES OF `INDIVI])UAL DEBTOR('S)

 

Complete this schedule by estimating the average 01 projected monthly expenses of the debtor and the debtor s family at time case filed Prorate any payments made biweekly, - .‘

quarterly, semi-annually, or annually to show monthly rate The average monthly expenses calculated oii this form may differ Hom the deductions nom nicome allowed
011 Form22A 01 22C

l I:| Check this box if a joint petition is filed and debtor’ s spouse maintains a separate household Complete a separate schedule of
expenditures labeled “Spouse.”

l. Rent or horne mortgage payment (include lot rented for mobile home) 4 ' , ’ 3 9453.73_
a. Are real estate taxes included? Yes g No______ ' ' ' ' ,
b ls property insurance included? Yes _L No'___

2. Utilities: _
300. 00

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

a. Electricity and heating fuel . 3
b. Water and sewer 3 45.00
c. Telephone ` 3 ~ 124.00
d. Other Cable 3 ' 60.00
` 3
' 3. Home maintenance (repairs and upkeep) 3'
4. FOOd 4 3 350.00
5. Ciothing s 50.00
6. Laundry and dry cleaning . 3 25.00
7. Medical and dental expenses ' 3 50.00
8. Transportation (not including car payments) ' ' 3 - 120.00‘
9 Recreation clubs and entertainment, newspapers, magazines, etc. 3 50.00
10. Charitable contributions , $
ll. Insurance (not deducted from wages or included in home mortgage payments)
a. Homeowner’s or renter’s ` $
b. Life 3
c. Health 3
d. AutO 3 221 .OO
e. Other Boat |nsurance 3 30.00
3
12. Taxes (not deducted from wages or included in home mortgage payments)
(Specify) 3
, 3
13. Installment payments: (in chapter ll, 12 and 13 cases, do not list payments to be included in the plan)
a. AutO 3 1,040.49
b. Other Boat Pavment .3 213.93
$ ,
l4. Alimony, maintenance, and support paid to others ' 3
15 Payments for support of additional dependents not living at your home $ ..
16 Regular expenses from operation of business, profession, or farm (attach detailed statement) 3
,' 17 Other H'omeowners Association ' 3_ »- 195.00
Pets $_ 45.00 '
$.
18. AVERAGE MONTHLY E`XPENSES (Total lines l 17 Report also on Summary of Schedules and, if -
applicable, on the Statistical Summary of Certain L'iabilities and Related Data. y 3 3,873.15 - 1 `
19. Describe any increase or decrease in expenditures anticipated to occur within the year following the filing of this document
None _
20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule l ` 3 '4 3,639.12
b Average monthly expenses from Line 18 above - 3 3,873.15

c. Monthly net income (a. minus b ) ' 3 -234.03.

 

 

 

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4 Date: _ Signature:

B6Declaration(0ff'1ci Form6- ODeclaOratioé %2/07)
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IN RE Marine||i, Mark S & Da|ly, Lilly K Cas

 

Debtoi(s) (If known)
DECLARATION CONCERNING DEBTOR'S SCI:[EDULES `

DECLARATION Ul\]'DER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

4 l declare under penalty of perjury that l have read the foregoing summary and schedules, consisting of 19 sheets,- and that they are

true and correct to the best of my knowledge, information, and belief

 

 

Date: Januarv 22, 2009 4 l Signature: /s/ Mark_S Marinelli

 

Mark s Marinelli . . ' sewer
Date:_ Janua[y 22, 2009 Signature: /s/ Lilly K Dallv . . '
Lilly K Dally _ (Joimi)ebror, ifany)

[If joint case, both spouses must sign ]

 

DECLARATION AND SlGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPA_RER (See ll U.S.C. § l 10)

l declare under penalty of perjury that: (l) l am a bankruptcy petition preparer as defined in ll U. S. C. § llO; (2) l prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under ll U. S. C §§ l lO(b), llO(h),
and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to ll U S. C. § llO(h) setting a maximum fee for services chargeable by
bankruptcy petition preparers, l have given the debtor notice of the maximum amount before preparing any document for filing for a debtor 01 accepting
any fee nom the debtor as required by that section. .

 

 

Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer ' ` ` ' Social Security No. (Required by ll U. S C. § 110 )

[f the bankruptcy petition preparer is not an individual state the name, title (f any) address and social security number of the ojjicen principal

responsible person or par trier who signs the document

 

 

Address

 

 

Signature of Bankruptcy Petition Preparer 4 ~ Date

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the banlquptcypetition preparer
is not an individual:

If more than one person prepared this document attach additional signed sheets conforming to the appropriate Ojj'i`cial For m for each person

A bankr uptcy petition preparer s failure to comply with the provision of title ll and the Feder al Rules of Bankr uptcy Procedur e may result in fines or

_imprisonmentor both. I] U.S..C §]10; 18 U.S..C §]56

 

DECLARATION UNDER.PENALTY`4OF PERJURY O_N BEHALF OF CORPORATION OR PARTNERSHIP

I, the 4 4 (the president or other officer or an authorized'agent of the corporation or a

member or an authorized agent of the partnership) of the

 

(corporation or partnership) named as debtor in this case, declare under penalty of perjury that l have read the foregoing summary and 4 d

schedules, consisting of sheets (total shown on summary page plus ]) and that they are true and correct to the best .of my
knowledge, inforrnation, and belief. . .

 

 

(Print or type name of individual signing on behalf cf debtor)
[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

Penaltyfor making a false statement or concealing property: Fine of up to 3500,000 or imprisonment for up to 5 years or botl'i. 18 U.S.C. §§ 152 and 3571.

 

 

B7 (Official Form 7) (12/07)

Case 09- 10812- barn l)ngdJStaEs §arlclelgmp{£%%u&?: .:O3 03 Page 28 of 35
District of Nevada

 

INRE: .' l _ 4 _, _ v »CaseNo.

Marineni. Mark s & nallv. 1_111v`K ' ' ' ` '- " Chapter-1
Debtor(s)

sTATEMENT or Fn\iANCiAL 'AFFAiRS

This statement is to be completed by every debtor. Spouses filing a j ointpetition may file a single statement on Which the information for both spouses
'is combined. lf the case is filed under chapter l2 or chapter 13 a married debtor must fiirnish information for both spouses whether or not a joint petition
is filed, unless the spouses are separated and a joint petition is not filed An individual debtor engaged in business as a sole proprietor, partner, fainin
' farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
personal affairs To indicate payments, transfers and the like to minor children state the child's initials and the name and address of the child's parent
or guardian such as "A B., a minor child, by John Doe, guardian " Do not disclose the child's name See, ll U. S C §112 and Fed. R Bankr. P. 1007(m)

 

Questions l - 18 are to be completed by all debtors Debtors that aie or have been in business, as defined below, also must complete Questions 19 -
25 _If the answer to an applicable question is "None," mark the box labeled "None. " If additional space is needed for the answei to any question, '
use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question

DEF]NITIONS

”In business " A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership An individual debtor is' 'in business"
for the purpose of this form if` the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the following:
an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a- coiporation; a partner other than a limited
partner of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debt01 also may be“ in business" for the purpose of this
form if the debtor engages in a trade, business or other activity, other than as an employee to supplement income from the debtor’ s primary employment

”[nsider. ” The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
which the debtor is an officer, director,v or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of
a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. ll U.S.C. § lOl.

 

1. Income from employment or operation of business

N°ne State the gross amount of income the debtor has received from`employment, trade, or profession, or from operation of the debtoi‘ s business,
|: including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
case was commenced State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. ldentify the '
beginning and ending dates of the debtor's fiscal year.) If a joint petition is iiled, state income for each spouse separately. (Married debtors filing
under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
joint petition is not filed.) '
AMoUNT soURCE_
4, 000. 00 2009 YTD Employment & Unemployment lncome
` - 127, 890. 00 2007 Employment lncome
70, 209. 00 2006 Employment income
54, 200. 00 2008 Estima_tec| Employment & Unemploymentl lnc_ome

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2. Income other than from employment or operation of business

N°“e State the amount of income received by the debtor other than hom employment, trade profession, operation of the debtor’ s business during the

g two years immediately preceding the commencement of this case Give particulars If` a joint petition is filed, state income for each spouse
separately (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not aj oint petition is iiled, unless
the spouses are separated and a joint petition is not filed ) -

 

3. Payments to creditors
Complete a. 01 b., as appr opr late, and c.

N°ne a ]ndividual or joint debtor (s) withprimar ily consumer debts: List all payments on loans, installment purchases of goods or services, and other '
__[;} _debts _.to any_ creditor made_ within9.0_ days immediately preceding <r__the commencement of this case unless the aggregate value of all property that -
constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
a domestic support obligation or as part of an alternative repayment schedule undei a plan by an approved nonprofit budgeting and credit
counseling agency. (Marn'ed debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a j oint'
petition is filed, unless the spouses are separated and a joint petition is not filed.) '

 

 

 

 

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Case 09-10812-bam

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PaQaaaaiSS

AMOUNT
NAME AND ADDRESS OF CREDITOR DATES OF PAYMENTS PAID STILL OWING
Washington N|utual Bank v` 11/1, 12/1, 1l1 2,861.19 0.00
PO BOX 9180 » , _ .
P_|easanton, CA 94566 : . ~ _ 4 v
Ford Motor Credit 12/23, 1l23 ' '.~ 1,114.30 ' 0.00
PO Box 7172 ' _
Pasaderia, CA 91109-7172 _- , 4 -_
‘Compass Bank 11/1, 12/1 966.68_ ' d 0.00
PO Box 192 '
Birmihgham,AL 35201 _
v Bank Of America 10/23, 11/23', 12/23 641.79 z 0.00

PO BOX 26078

_Greensboro, NC 27420

`- N°”e b. Debtor whose debts are not primarily consumer debts. List each payment or other transfer to any creditor made Within 90 days immediately "

M preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than

$5, 475 If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support .

obligation or as part of an alternative repayment schedule under aplan by an approved nonprofit budgeting and credit counseling agency (Married
debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either o_r both spouses whether or not a joint petition
is filed, unless the spouses are separated and a joint petition is not filed )

 

N°“° c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
g who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
‘ a joint petition is filed unless the spouses are separated and a joint petition is not filed ) .

 

4. Suits and administrative proceedings, executions,,, varnishments and attachments

N°“e a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
M bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 

N°ne b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
the commencement of this case (Married debtors filing under chapter 12 or chapter l3 must include information concerning property of either
or both spouses whether or not a joint petition is filed unless the spouses are separated and a joint petition is not filed. )

 

5. Repossessions, foreclosures and returns

N°”e List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
joint petition is not filed.)

 

6. Assignments and receiverships

N°“e a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case v

(Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not aj oint petition is filed,
unless the spouses are separated and joint petition is not filed. ) v -

 

N°“"' '.b List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
|Z commencement of this case (Man‘i_ed debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed )

 

7. eich _ j _
N°“e List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
lZ gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
per recipient (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
a joint petition is filed, unless the spouses are separated and a joint petition is not iiled. ) `

 

8. Losses v

N°“e List all losses from fire, theft other casualty or gambling within one year iimnediately preceding the commencement of this case or since the .

M commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
a joint petition is filed, unless th_e spouses are` separated and a joint petition is not i'iled. ) '

 

 

 

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CaSe 09- 10812- barn Doc 1 Entered 01/22/09 17 03 03 Page 30 of 35
9. Payments related to debt counseling or bankruptcy

N°“e List all payments made o'r property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
m consolidation, relief under bankruptcy law or pi eparation of a petition in bankruptcy within one year immediately preceding the commencement
of this case. . y

` DATE OF PAYMENT, NAME OF AMOUNT OF MONEY OR DESCRIPTION
NAME AND ADDRESS OF PAYEE PAYOR IF OTHER THAN DEBTOR . AND VALUE OF PROPERTY
Cohen Johnson & Day , 1/13/09 » ' ' . - y _ v _ 1, 500. 00
3695 West Flamingo Road . _ _ . 4
Las Vegas, NV 89103 _
Consumer Credit Counseling - 1l2/09 ` v . ` 50.00

 

10. Other transfers

N°n° a.» List all other property, other than property transferred in the ordinary course of the business or financial affairs of the _debtor, transferred either
M absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12_ or .
chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed. ) '

 

N°“e b List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar
M device of which the debtor is a beneficiary . -

 

11. Closed financial accounts

N°”° List all financial accounts and instruments held in the name of the debtor oi for the benefit of the debtor which were closed, sold or otherwise

M transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,'
certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives associations '
brokerage houses and other financial institutions (Married debtors filing under chapter 12 or chapter 13 must include information concerning
accounts or instruments held by or for either or both spouses whether or not a joint petition is filed unless the spouses are separated and a joint
petition is not filed. )

 

12. Safe deposit boxes

N°”e List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not liled.)

 

13. Setoffs

N°”e List all setoffs made by any creditor, including a bank, against a debt or deposit ofthe debtor Within 90 days preceding the commencement of this
case. (Manied debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed.)

 

14. Property held for another person
N°“ List all property owned by another'persori that the debtor»holds or controls.

 

15. Prior address of debtor

v N°”e If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during

M that period and vacated prior to the commencement of this case. lf a joint petition is filed, report also any separate address of either spouse

 

16. ,Spouses and Former Spouses

1 N°”e lf the debtoi'reside`s or resided in a community property state, commonwealth, or tenitory (including Alasl_<a_, 'Arizona, Califomia, Idaho, Louisiana,
Nevada, New Mexico, Puerto Rico, Texas, Washington,‘or Wisconsin) within eight years immediately preceding the`commencement of the case,
identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor iii the community property state. - .

 

 

Case 09-10312-ham nor 1 l=nrprpd m/??/no 17-0'2-0'2 page 33 9135

17. Environmental Information

_ _For_ the purpose of this question, the following definitions apply

“Environmental Law” means any federal, state, or local statute 01 regulation regulating pollution, coiitamination, ieleases of hazai dous ortoxic substances,
wastes or material into the air, land, soil, surface water, gi,oundwater or other medium, including, but not limited to, statutes or regulations regulating

l the cleanup of these substances, wastes or material

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“Site” means any location, facility, or pi operty as defined under any Environmental Law, whether 01 not presently or fonnerly owned or operated by the
debtor, including, but not limited to, disposal sites b v .

“Hazardous Material” means anything defined as a hazardous waste hazardous substance, toxic substance, hazardous mateiial, pollutant, or contaminant
or similar tenn undei an Environmental Law.

N°“e a. List the name and address of every site for which the debtor has received`notice in writing by a governmental unit that it may be liable or
M potentially liable under or in violation of an Environmental Law. lndicate the governmental unit, the date of the notice, and, if known, the

Enviromnental Law.

N°“€ b List the name and address of every site for which the debtor provided notice to a govemmental unit of a 1 elease ofHazardous Material. lndicate
the governmental unit to which the notice was sent and the date of the notice`.

 

N°“° c. List all judicial or administrative proceedings, including settlements or 01 ders undei any Enviromnental Law with respect to which the debtor
M is or was a party lndicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket numbe1

 

18. Nature, location and name of business

N°“~’= a. lj"the debtoris an individual list thenames, addresses, taxpayer identification numbers, nature of thebusinesses and beginning and ending dates
|Z of all businesses in which the debtor was an officer, director, partnei', or managing executive of. a corporation, partner in a partnership, sole
~ proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the

commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately 4

preceding the commencement o_f this case

Ifthe debt01 is apartnelship, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates ’

of all businesses in which the debtor was a partner 01 owned 5 percent or more of the voting or equity Securities, within six years immediately
preceding the commencement of this case.

[fthe debt01 is a corporation, list the names, addresses, taxpayer identification nuinbers, nature of the businesses and beginning and ending dates
of all businesses in which the debtor was a partner 01 owned 5 percent 01 more of the voting or equity securities within six years immediately
preceding the commencement of this case.

N°”e b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in ll U.S.C. § 101.

 

[If completed by an individual 01' individual and spouse]

l declare underpenalty of perjury that I have read the answers contained in the foregoing Statement of financial affairs and any attachments

' thereto and that they are true and correct

 

 

 

Date:Janua[yZZ, 2009 Signature /s/MarkSMarinel/i 1 _ v . _ . . ' ' . - ~
' . ofDebtor x t __ _ . , _ . . - Mark S Marinelli
Date: Januarv 22, 2009 Signature /s/ LiIIi`/ K Dally 1 .
_of Joint Debtor ' ' . '_ - Lilly K Da`|ly
(if any)' ~ ' ` - - , '

0 continuation pages attached

Penalty /01' making vajalse statement Fine of up to $500,00_0 01'_i1np1'is0nn1ent for up to 5 years or both. 18 _U.'S.C. § 152 and 35 71 . l

 

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INRE: _ . t . . CaseNo.

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United States Bankruptcy Court

‘ . , , , y iv _ District ofNevada

 

Marine||i, Mark S & Da|ly, Lilly K Chapter 7

tDebtor(s) » . 1 _ .
CHAPTER '_7 H`IDIVIDUAL DEB'I_`_OR'S STATEl\/IENT OF INTENTION '

MI have filed a schedule of assets and liabilities which includes debts secured by property of the estate.
[:] l have filed a schedule of executory contracts and unexpired leases which includes personal property subject to an unexpired lease.
MI intend to do the following with respect to the property of the estate which secures those debts or is subject to a lease:
y l . l y l l l v Propeny\vill Debt will be

v Property is be redeemed reaErmed
Property \vill claimed _as pursuant to ll pursuant to 11

 

Description of Secured Property . y n " Creditor’s Name ` d _ be Su!'rendered exempt U.S.C. § 722 U.S.C. § 524(c)
1998 19' Bayliner 1 - Bank Of America . » ' ._ » Retain *
2007 Ford Exp|orer . ' Ford Motor Credit _ . Retain *
2007 _Ford Exp|orer'Truck Ford Motor Credit v . - ' _ Retain *
7804 Canoe Lane . _ 1 Washington Mutua| Bank ' v Retain *

* Retain and pay pursuant to original contract

 

 

Lease will be
assumed
pursuant to 11
. . .. l , _ _ v _ U.S.C_. §
Descriprion ofLeased Property 4 t Lesscr`s Name ~ ' - 362(11)(1)(A) ` `
01/22/2009 /s/ Mark S Marinelli /s/ Lilly K Dally
Date Mark S Marinelli Debtor Lilly K Dally Joint Debtor (if applicable)

 

DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

l declare under penalty of perjury that: (l) l am a bankruptcy petition preparer as defined in ll U.S.C. § 110; (2) l prepared this document for
compensation and have'provided the debtor With a copy of this document and the notices and information required under ll U.S.C. §§ llO(b), l l-O(h),
and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to ll U.S_.C. § llO(h) setting amaximum fee for services chargeable by , »
bankruptcy petition preparers, l have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting -
any fee from the debtor, as required by that section. ` ' ~ - » .

 

 

Printed or Typed Name and Title, if a11y, of Bankruptcy Petition Preparer ` ' - - ' = " - , - Social Security No.~(Req'uii'ed by ~ll U.S.C. § 110.)
lf the bankruptcy petition preparer is not an individual, state the name, title (ifany), 'address, and social security number ofthe ojj‘icer, principal
responsible perso_n,-or partner who signs the document ` ‘ _ "

 

 

v Address

 

 

Signature of Bankruptcy Petition Preparer ' ` _ . n Date

/Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless thebanl<i'uptcy petition preparer

is*not an individual: ‘ ,

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Ofticial Form for each person.

A bankruptcy petition preparer's failure to comply wit/1 the provision of title ]1 and the Federal Rules of Bankruptcy Procedure may result in fines or
imprisonment or both. ll US.C. § ]]0,' 18 U.S.C. § ]56. ' .

 

_ IN RE: _ . _ _ Case No.

4 Marine||i, Mark s & Danv. Linv K ` ‘ ~ ' Chapter 7

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United States Bankruptcy Court

District of Nevada

 

lD`ebtor(s)
_ VERIFICATION OF CREDITOR MATRIX
The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) l<nowledge.

 

 

 

Date: January 22, 2009 ` -. Signature /s/ Mark s Marinem' _ _ .
1 , Mark S Marine||i ' ~ f - Debtor
Date: Januag/ 22, 2009 ~ Signature /s/ Lilly K pal/v . ~ '
_ , , _ Lilly K Dally . . _ . . Joint Debtor, ifany

 

 

Marine||i, Mark S
7804 Canoe Lane
Las Vegas, NV 89145

`Dally, Lilly K
7804 Canoe Lane
Las Vegas, NV 89145

Stan Johnson
3695 West F|amingo Road
Las Vegas, NV 89103

Advanta
PO Box 8088
Philade|phia, PA 19101-8088

American Express
Box 0001

Los Angeles, CA 90096-0001

Bank Of America -
PO Box 538610
Atlanta, GA 30353-8610

Bank Of America
.PO Box1_5170 _
Wilmington, DE 19886-5710

" Bank O`f America
PO BOX 15026 t
Will"ningfon, DE 19850

CAP|TAL ONE
PO Box 70884
Charlotte, NC 28272

Chase
PO BOX 24573'
Co|umbus, OH 43224

Ch
PO Box 6413

~The L~akes, NV 88901-6413

Citi Business Card
PO Box 6409
The Lakes, NV 88901-6409

Citi Cards
PO Box 45129 ¢

Jacksonviue, FL 32232

D'illard"s

PO Box 981430 .
Ei Paso, TX 79998-1430

Discover Card
PO Box 960013
Orlando, FL 32896

Emerge
PO Box 1249
Newark, NJ 07101-1249

Ford Motor Credit
PO Box 7172
Pasadena, CA 91109-7172

Gap Visa 1
PO Box 960017

Or|ando, FL 32896-0017

` Kohl's v
`PO Box 30510
' Los Ange|es,. CA 90030-0510

Lowe's ' ’
PO Box 981084
E| Paso, TX 79998-1084

Case 09-10812-bam _ Doo 1 Entered 01/22/09 17:03"7|03 Page 34 of 35
, oice _ acys

PO Box 6938
The Lakes,_NV. 38901

P'ier1' .

" - Po Box 94012_

Palatine, |L ’60094-4012

Sears Card ,
PO Box 6189

y,Sioux_ Fal|s, SD 1571-17

Target National Bank
PO Box 59317 , _
Minneapolis, MN 55459-0317

Victoria's' Secret-

PO Box 659728
San Antonio, TX 78265-9728

Washington Mutual Bank
PO BOX 9180
Pleasanton, CA 94566

Wel|s Fargo Financia|

_3201 North 4th Ave.
. Sioux Fa|ls, SD 57104

 

 

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IN RE: v _ _ - Case No.
~ Marine||i, Mark S & Da||v, Li|lv K l ’ d Chapter 7

go

6.

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- United States BankruptcyC ourt

District of Nevada

 

 

Debtoi'(s) . y _
- DISCLOSURE OF'COMPE'NSATI'O'N OF ATTORNEY FOR DEBTOR

Pursuant to ll U. S. C. § 329(a) and Banlcuptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s) and that compensation paid to me within
one yeai before the filing of the petition in bankruptcy, or agi eed to be paid to me, for services rendered 01 to be rendered on behalf of the debtoi(s) in contemplation

' of 01 in connection with the bankruptcy case is as follows:

Forlegalseivices,Ihaveagreedtoaccept......7..'.- ..... .................. ..... ` ....... '$. 1Z5OO.OO
Priorto the filing of this stateinentlhave received ........ ; ...... _. . . .' ........... ' .................. .............. `. . . . S ' 11500.00_
lBalanceDue........-..- ......... . ......... ........ _. ................. ........ » ...... $ 0.00

The soui ce of the compensation paid to me was: lZlDebtor l:l Other (specify):
The source of compensation to be paid to me is: l:l Debt01 g Other (specify):
l?_l lhave not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm. '

l:l l have agreed to share the above- disclosed compensation with a person or persons who are not members or associates of my law firm A. copy of the agi eement,
together with a list of the names of th_e people sharing m the compensation, is attached

In retum for the above-disclosed fee, l have agreed to rendei legal service foi all aspects of the bankiuptcy case, including:

Aiialysis of the debtor‘s financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof`;

 

nance

[Other provisions as needed]

By agreement with the debtor(s), the above disclosed fee-does not include the following services:

 

 

 

CERTIFICATION
I certify that the foregoing is a complete statement of any agreement or airangement for payment to me for iepresentation of the debtor(s) m this bankruptcy
proceeding _ -
January 22, 2009 s ' /s/ H. Stan Johnson, Esq.
Date - Signature of Attoni'ey

Stan Johnson

 

Name of Law Firni

 

 

 

